  Case 19-18467       Doc 34   Filed 10/29/19 Entered 10/30/19 06:27:16               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:      19-18467
American Pain Society                         )
                                              )               Chapter: 7
                                              )
                                                              Honorable Deborah L. Thorne
                                              )
                                              )
               Debtor(s)                      )

               Order Approving Settlement With Elsevier, Inc. and Sortening Notice

       This matter coming to be heard on the motion (the "Motion") of Michael K. Desmond, not
individually, but as Chapter 7 Trustee (the "Trustee") for the bankruptcy estate of the American Pain
Society (the "Debtor"), for approval of settlement with Elsevier, Inc. pursuant to Rule 9019 notice of
the motion having been given to all parties entitled thereto; no objections having been filed; and the
Court having been advised of the premises;

  It is hereby ordered that:

  1. The Settlement Agreement with Elsevier, Inc. attached to the motion as Exhibit B is approved;

  2. The Trustee is authorized to undertake such other acts as may be reasonable and necessary to
consummate the Settlement Agreement;

     3. The Trustee is authorized to pay Elsevier, Inc. monthly subscription fees pursuant to the terms
of the Settlement Agreement;

  3. Elsevier shall have an allowed Chapter 7 administrative expense claim in the amount of
$50,000.00, less any unpaid royalties and editorial fees due to the Debtor for the period from July 1,
2019 through December 31, 2019 pursuant to the terms of the Settlement Agreement;

   4. Elsevier shall have an allowed pre-petition general unsecured claim in the amount of $250,000;

  5). Notice is shortened for cause shown.

                                                           Enter:


                                                                    Honorable Deborah L. Thorne
Dated: October 29, 2019                                             United States Bankruptcy Judge

 Prepared by:
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